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 1    James E. Holland, Jr. (021826)
      Javier Torres (032397)
 2    STINSON LEONARD STREET LLP
      1850 North Central Avenue, Suite 2100
 3    Phoenix, Arizona 85004-4584
      Tel: (602) 279-1600
 4    Fax: (602) 240-6925
      Email: james.holland@stinson.com
 5            javier.torres@stinson.com
      Attorneys for HKB, Inc., dba Southwest Industrial Rigging
 6
 7
 8                                   UNITED STATES DISTRICT COURT
 9                                          DISTRICT OF ARIZONA
10    HKB, Inc., an Arizona Corporation, dba          2:16-cv-03799-PHX-DJH (Lead Case)
      Southwest Industrial Rigging,                   2:17-cv-00198-PHX-DJH
11
12                                   Plaintiff,       JOINT CASE MANAGEMENT
      v.                                              REPORT
13
      Board of Trustees for the Southwest
14    Carpenter’s Southwest Trust; et al.,
                                                      (Assigned to the Honorable Diane J.
15                                   Defendants.      Humetawa)
16    Board of Trustees for the Southwest
17    Carpenter’s Southwest Trust; et al.,

18                                   Plaintiffs,

19    v.

20    HKB, Inc., an Arizona Corporation, dba
      Southwest Industrial Rigging, et al.,
21                                   Defendants.
22
23 I.         LIST OF THE PARTIES IN THE CASE
24            Plaintiff(s): HKB, Inc., dba Southwest Industrial Rigging (“Southwest”).
25            Defendant(s): Carpenters Southwest Administrative Corporation and Board of
26 Trustees for the Southwest Carpenter’s Southwest Trust (collectively, the “Carpenters
27 Trusts” or “Defendants”).
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 1 II.        NATURE OF THE CASE
 2            A.       Plaintiff’s Statement of the Case.
 3            The Funds have demanded that Southwest make payments to the Funds pursuant
 4 to a document that Southwest never agreed to be bound by. Specifically, the Funds seek
 5 payments from Southwest pursuant to a document titled “Southwest Regional Council of
 6 Carpenters – Carpenters Memorandum Agreement 2012-2016” (the “Memorandum”).
 7 The Memorandum was signed by the Funds and by Tom Allen. At the time, Allen was a
 8 low-level Southwest employee who did not have authority to sign such documents for
 9 Southwest. Prior to Allen’s signing of the Memorandum, Southwest made it known to
10 Allen that Allen did not have authority to bind Southwest to such contracts. Allen was
11 only a salesman for Southwest, so the Funds had no reason to believe that Allen was
12 authorized to sign the Memorandum on behalf of Southwest. Subsequent to Allen’s
13 signing of the Memorandum, and still unaware that Allen had signed the Memorandum,
14 Southwest reiterated to Allen that Allen did not have authority to bind Southwest by
15 signing such contracts on Plaintiff’s behalf. The Memorandum purports to incorporate,
16 by reference, other documents (referred to in the Memorandum as “Agreement[s]” and
17 “Master Labor Agreement[s]”), and purported to include “any amendments
18 modifications, and extensions” of such documents. Upon information and belief, these
19 documents were never provided to Allen, nor were they provided to Southwest.
20            Southwest performs construction-related maintenance and repair work at the Palo
21 Verde Nuclear Generating Station (the “Power Plant”) twice a year for 4-6 weeks at a
22 time. Southwest had previously used carpenters provided by the Funds to help perform
23 some of the maintenance and repair work at the Power Plant, but Southwest had never
24 been required to sign the Memorandum or any document like it.
25            Subsequent to Allen’s signing of the Memorandum, and while Southwest was still
26 unaware that Allen had signed the Memorandum, Southwest used carpenters provided by
27 the Funds to perform temp work at the Power Plant.
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 1            Consistent with past practices, Southwest paid the Funds for all services that were
 2 rendered by the carpenters, including funds for the carpenters’ health-care, training,
 3 vacation, and pension funds.
 4            Beginning in November, 2015—several years after Southwest first began hiring
 5 and paying for services provided by the Funds’ carpenters (and more than two years after
 6 Allen signed the Memorandum)—the Funds purported to perform an “audit” regarding
 7 Southwest’s payments to the Funds.
 8            As a result of the Funds’ “audit,” the Funds demanded that Southwest make
 9 additional payments in excess of $490,000, for various health-care, training, vacation, and
10 pension funds. This payment demand was not based upon any work performed by the
11 Union’s carpenters. Rather, the Funds’ demand was based solely upon services performed
12 by the Southwest’s own employees.
13            Southwest’s employees were not members of the Union and had no affiliation with
14 the Union. Nevertheless, the Funds claimed that one of the documents incorporated into
15 the Memorandum says Southwest must pay the Funds’ health-care, training, vacation, and
16 pension funds for all work performed by Southwest’s employees even though the
17 employees are not Union members and do not receive Union benefits. In other words, the
18 Funds claim that because Southwest hired Union carpenters for temporary work at the
19 Power Plant, Southwest is required to pay the Funds’ health-care, training, vacation, and
20 pension funds for all work performed year round by Southwest’s non-union employees.
21            Neither Southwest nor its employees will receive any benefit from the health-care,
22 training, pension, and vacation plans that the Funds claim Southwest must pay for.
23            During the time that Southwest used carpenters provided by the Union, the Funds
24 never brought to Southwest’s attention any expectation that Southwest was liable for any
25 of the payments that the Funds ultimately demanded as a result of the “audits.”
26            The Funds’ demand by itself actually exceeds the value of all services provided by
27 the Union carpenters for that time period. Thus, the purported obligation to pay health-
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 1 care, training, vacation, and pension plans for all Southwest’s employees actually
 2 compounds Southwest’s costs for Union workers by multiples, making it so that Union
 3 carpenters cost far more than they are worth.
 4            Southwest has fully paid the Funds for all sums attributable to work performed by
 5 Union carpenters, so Southwest owes no other money to the Funds.
 6            Accordingly, Southwest seeks declarations that: the Memorandum and its
 7 accompanying documents are not enforceable against Southwest because Southwest did
 8 not agree to the terms in the Memorandum; that the Memorandum’s purported
 9 requirement for Southwest to pay the Funds’ health-care, training, vacation, and pension
10 funds for work performed by Southwest’s full-time permanent employees is
11 unenforceable because it exceeds Southwest’s reasonable expectations; that Southwest
12 has no present or future obligations under the Memorandum; and that the Funds’ claim is
13 barred by Arizona’s statute of limitation.
14            B.       Defendants’ Statement of the Case.
15            The Carpenters Southwest Administrative Corporation and the Board of Trustees
16 For The Carpenters Southwest Trusts (collectively “Carpenters Trusts”) filed this action
17 on October 28, 2016 seeking ERISA benefit contributions owed under the collective
18 bargaining agreement (“CBA”) H K B Inc. (“H K B”) executed with the Southwest
19 Regional Council of Carpenters (“SWRCC”) on or about August 22, 2013. Pursuant to
20 the CBA, H K B became a signatory to the Southwest Carpenters Health and Welfare
21 Trust, the Southwest Carpenters Pension Trust, the Southwest Carpenters Training Fund,
22 and the Southwest Carpenters Vacation Trust, along with any amendments to such
23 agreements.
24            The CBA was signed by Tom Allen, H K B’s Manager of Construction, for
25 H K B after at least three meetings with SWRCC representatives at H K B’s offices. In
26 one of the meetings, both Mr. Allen and Xonia Ornelas participated on behalf of H K B.
27 (At the meeting that she participated in, Ms. Ornelas stated that her title was “HR
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 1 Manager” or a similar title.) In the course of these meetings, Mr. Allen and Ms. Ornelas
 2 affirmed that Mr. Allen had authority to bind H K B to the CBA. Likewise, they affirmed
 3 that H K B wished to enter into a full memorandum agreement instead of a single project
 4 agreement.
 5            For approximately three years, H K B used the services of SWRCC-represented
 6 carpenters and filed reports with Carpenters Trusts concerning hours worked by these
 7 carpenters, as required by the agreements.
 8            Carpenters Trusts completed an audit of H K B’s contributions to the Trust Funds,
 9 which showed that its Trust Funds contributions were delinquent. On March 29, 2016,
10 Carpenters Trusts’ counsel sent a demand letter sent to H K B’s counsel. On April 27,
11 2016, nearly three years after H K B entered into the CBA, H K B’s counsel sent letters
12 to Carpenters Trusts’ counsel and to the SWRCC, which asserted that H K B’s “former
13 sales representative, Tom Allen, may have signed a document... Mr. Allen did not have
14 actual, implied or apparent authority to bind Southwest Industrial Rigging ...” As H K B
15 refused to pay the delinquent ERISA contributions, Carpenters Trusts filed the instant suit
16 on October 28, 2016. Carpenters Trusts seek damages, inter alia, for failure to pay fringe
17 benefit contributions based upon the CBA.
18            H K B entered into a full memorandum agreement. Accordingly, H K B is required
19 to pay benefit contributions for any of its workers who performed services covered by the
20 Agreements. As H K B accepted this contractual obligation, its use of non-union workers
21 does not relieve it from its obligation to make these contributions.
22 III.       JURISDICTIONAL BASIS OF THE CASE
23            The issue of this Court’s jurisdiction has already been litigated and decided by the
24 district court in California as well as this Court. This Court has jurisdiction over
25 Southwest’s claims under 28 U.S. Code § 2201 and 28 U.S.C. § 1391(b).
26 IV.        PARTIES WHICH HAVE NOT BEEN SERVED OR WHICH HAVE NOT
              FILED AN ANSWER
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 1            The parties are unaware of any additional parties who have not been served or who
 2 have not yet filed an answer or otherwise made an appearance.
 3 V.         EXPECTED ADDITIONAL PARTIES OR PLEADING AMENDMENTS
 4            Currently, the parties do not anticipate adding additional parties or otherwise
 5 amending the pleadings.
 6 VI.        CONTEMPLATED MOTIONS AND STATEMENT OF ISSUES TO BE
              DECIDED
 7
 8            Southwest anticipates filing an early summary-judgment motion to establish that
 9 it is entitled to the relief it seeks as a matter of law. (See Section II(A) above.)
10            The Carpenters Trusts anticipate filing a motion for summary judgment.          The
11 Carpenters Trusts anticipate that some discovery will need to be completed prior to filing
12 a motion for summary judgment; hence, it is anticipated that this motion would be filed
13 in the June 2019 timeframe.
14 VII.       ASSIGNMENT TO A UNITED STATES MAGISTRATE JUDGE UNDER
              28 U.S.C. § 636(c)
15
16            The parties are unwilling to consent to reference to a Magistrate Judge under 28
17 U.S.C. § 636(c).
18 VIII. STATUS OF RELATED CASES
19            The parties are unaware of any related cases pending before other judges of this
20 Court or before other courts.
21 IX.        EXCHANGE OF INITIAL DISCLOSURES UNDER RULE 26(a)
22            The parties will exchange Fed.R.Civ.P. 26(a) Initial Disclosures on or before:
23 October 15, 2018.
24 X.         ISSUES RELATING TO ESI DISCLOSURE OR DISCOVERY
25            Both parties have disclosed several categories of electronically stored information.
26 During the parties’ Rule 26(f) conference, the parties discussed how to filter and produce
27 the relevant ESI. The parties agreed to work together to determine search parameters
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 1 including search terms, parties, and dates to filter obtain the relevant ESI. The parties are
 2 working together to determine the reasonable form(s) in which to produce the various
 3 types of ESI in this case.
 4            The parties are not aware of any ESI.
 5 XI.        ISSUES RELATING TO PRIVILEGE OR WORK PRODUCT
 6            At this time, the parties have not identified any issues related to claims of privilege
 7 or work product.
 8 XII.       NECESSARY DISCOVERY
 9            The parties anticipate utilizing written discovery under Fed. Rs. Civ. P. 33, 34 and
10 36, as well as depositions of Southwest, Union, and Funds personnel. The parties also
11 anticipate serving subpoenas for documents and testimony on certain third party
12 witnesses. The parties do not believe it is necessary to conduct discovery in phases or to
13 change the default discovery limitations under the Federal Rules of Civil Procedure
14 and/or the Local Rules, including the default time limitation of seven hours for each
15 deposition.
16            a.       The extent, nature, and location of discovery anticipated by the parties;

17            Southwest intends to take seek discovery regarding: Union contracts with Southwest, the

18 Funds’ audit; the signing of the Memorandum by Allen and by the Union.
19            The Carpenters Trusts anticipate conducting discovery regarding H K B’s corporate
20 structure, policies and procedures, and related matters. The Carpenters Trusts also anticipate
21 conducting discovery regarding Tom Allen’s corporate position and authority.
22            b.       The scope of discovery and whether discovery should be conducted in phases
23 or should be limited to focus on particular issues;
24            N/A

25            c.       Suggested changes, if any, to the discovery limitations imposed by the Federal

26 Rules of Civil Procedure;
27            N/A

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 1            d.       The number of hours permitted for each deposition, unless modified by
 2 agreement of the parties. See Fed.R.Civ.P. 30(d)(1).
 3            Unless otherwise stipulated or ordered by the court, a deposition is limited to one (1) day
 4 of seven (7) hours.
 5 XIII. PROPOSED DEADLINES
 6            A.       Fact Discovery including Supplementing Discovery Responses:
 7            The parties shall complete fact discovery including final supplementation of
 8 discovery responses on or before May 24, 2019.
 9            B.       Expert Witnesses Disclosures:
10            The Parties do not intend to utilize expert witnesses at this time.
11            C.       Expert Depositions:
12            N/A
13            D.       Dispositive Motions:
14            The parties shall file dispositive motions on or before July 26, 2019.
15            E.       Good Faith Settlement Talks:
16            The parties shall engage in face-to-face good faith settlement talks on or before
17 September 27, 2019.
18 XIV. JURY TRIAL REQUEST
19            The Parties have not requested a trial by jury.
20 XV.        ESTIMATED LENGTH OF TRIAL
21            The parties anticipate that the trial will require 3 to 5 trial days.
22 XVI. PROSPECTS FOR SETTLEMENT
23            The prospects for settlement are currently unclear, but the parties anticipate
24 engaging in a settlement conference after some discovery has been completed and request
25 that the Court refer the case to a settlement judge to conduct a settlement conference in
26 April 2019.
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 1            RESPECTFULLY SUBMITTED 24th day of September 2018.
 2                                                    STINSON LEONARD STREET LLP
 3
                                            By:       /s/ James E. Holland, Jr.
 4
                                                      James E. Holland, Jr.
 5                                                    Javier Torres
                                                      1850 North Central Avenue, Suite 2100
 6                                                    Phoenix, Arizona 85004-4584
                                                      Attorneys for Southwest Industrial Rigging
 7
 8
                                                      DECARLO & SHANLEY
 9
                                                      /s/ James E. Holland, Jr. on behalf of
10                                          By:       Thomas Davis (with permission)
11                                                    Daniel Shanley
                                                      Thomas Davis
12                                                    533 South Freemont Avenue, Ninth Floor
                                                      Los Angeles, California 90071-1706
13                                                    Attorneys for Plaintiffs, Carpenters
                                                      Southwest Administrative Corporation and
14                                                    Board of Trustees for the Carpenters
                                                      Southwest Trusts
15
16                                   CERTIFICATE OF SERVICE
17            I hereby certify that on September 24, 2018 I caused the foregoing document to
18 be filed electronically with the Clerk of Court through ECF; and that ECF will send an
19 e-notice of the electronic filing to:
20
              Daniel Shanley
21            Thomas Davis (admitted pro hac vice)
              DeCarlo & Shanley
22            533 South Freemont Avenue, Ninth Floor
23            Los Angeles, California 90071-1706
              dshanley@deconsel.com
24            tdavis@deconsel.com
              Attorneys for Plaintiffs, Carpenters Southwest
25
              Administrative Corporation and Board of Trustees
26            for the Carpenters Southwest Trusts
27                                             /s/ C. Roundtree
28
                                                  9
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